Case 1:19-cr-00253-TSE Document 371 Filed 07/23/20 Page 1 of 2 PagelD# 1910

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTEEN DISTRICT QF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA )
}
}
V. } Criminal No. 1:19-CR-253
)
KRISTOPHER LEE DALLMANN, et al., )
Defendants. )
ORDER

In this criminal copyright infringement matter, defendant Kristopher Lee Dallmann and
defendant Jared Edward Jaurequi failed to appear at hearings scheduled for July 9, 2020 in the
Eastern District of Virginia. A July 9, 2020 Order recounted defendant Kristopher Lee Dallmann
and defendant Jared Edward Jaurequi’s history of noncompliance with the conditions of their
pretrial release and ordered that bench warrants be issued for the arrest of defendant Kristopher
Lee Dallmann and defendant Jared Edward Jaurequi. On July 16, 2020, defendant Dallmann and
defendant Jaurequi were arrested pursuant to the bench warrants. On Monday, July 20, 2020,
defendants made their initial appearances in the District of Nevada. Defendant Dallmann’s
detention hearing was held on Monday, July 20, 2020, and defendant Dallmann’s detention was
ordered. Defendant Jaurequi’s motion to continue his detention hearing from Monday, July 20,
2020 to Friday, July 24, 2020 was granted.

On July 20, 2020, defendants Dallmann and Jaurequi filed a joint Motion for
Reconsideration of the issuance of bench warrants. Defendants Dallmann and Jaurequi argue that
their failure to appear at the July 9, 2020 hearing was not willful and that defendants would

voluntarily appear for the hearings rescheduled from July 9, 2020 to September 17, 2020 if

summonses were issued.
Case 1:19-cr-00253-TSE Document 371 Filed 07/23/20 Page 2 of 2 PagelD# 1911

On July 22, 2020 the government filed a brief in opposition to defendants’ Motion for
Reconsideration, arguing that defendants’ motion failed to address defendants’ pattern of non-
compliance with conditions of pretrial release, that defendants were uncooperative during the
execution of the bench warrants, and that preliminary information obtained from American
Airlines suggests that defendants willfully failed to appear at the hearings scheduled for July 9,
2020.

Defendants’ joint Motion for Reconsideration provides no persuasive reason to vacate the
bench warrants issued pursuant to the July 9, 2020 Order. For the reasons already set forth in the
July 9, 2020 Order, defendants” Motion for Reconsideration will be denied, and the bench
warrants for the arrest of defendant Dallmann and defendant Jaurequi remain in full force and
effect.

Accordingly,

It is hereby ORDERED that the joint Motion for Reconsideration filed by defendant
Dallmann and defendant Jaurequi (Dkt. 364) is DENLED.

The Clerk is directed to send a copy of this Order to all counsel of record, the Probation
Office, the Pretrial Services Office, and the United States Marshals Service.

Alexandria, Virginia
July 23, 2020

fsl

T.S.ENis,. uf ‘7
United Suates Digfrict Judge

Ww
